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                                                    January 12, 2021
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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                         Case No. 5:19-cv-1292-SB (KKx)
11   JOSEFINA GILLETTE, an individual,
12
                                           JUDGMENT
                             Plaintiff,
13
14   v.
15   STATER BROS. MARKETS, INC.;
16   and DOES 1-100, inclusive,
17
                             Defendants.
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 1        TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2        Pursuant to the Order Granting Defendant Stater Bros. Markets’ (“Defendant”)
 3   Motion for Summary Judgment (Dkt. No. 65), Defendant’s Motion for
 4   Summary Judgment is GRANTED. Plaintiff’s action is dismissed on the merits.
 5        Judgment is entered in favor of Defendant.
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 7        IT IS SO ORDERED.
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11   Dated: January 12, 2021       _______________       _________________
12                                      STANLEY BLUMENFELD, JR.
                                      UNITED STATES DISTRICT JUDGE
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